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                                                             April 25, 2023
VIA ECF
The Honorable Diane Gujarati
United States District Judge
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

                Re:     United States v. Leonel Brazoban, et al 22 Cr. 41 (DG))
 Dear Judge Gujarati:

         I represent Leonel Brazoban in the above referenced case and write today to
respectfully request that the Court allow the defense to file its sentencing memo on Saturday
April 29, 2023, instead of its due date of Thursday, April 27, 2023.

         I have to appear in the Middle District of Pennsylvania for a proffer on April 27, 2023
and will not return to New York until the evening of April 28, 2023. I will meet with Mr.
Brazoban on April 29, 2023, to review the finished memo and will file it that same day.

         The government, through AUSA Andrew Wang, graciously consents to the instant
request. Thank you.

                                                            Sincerely,
                                                            /s/
                                                            Christopher Wright
